     Case 3:17-cv-00072-NKM-JCH Document 149 Filed 12/11/17 Page 1 of 1 Pageid#: 673
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                                               US DistrictCourt(Charlottesville lvision)
                                                                                                 FraternalOrderoftheAlt-Knights?c/oProudBoys
     c/o RobertCahill,Cooley LLP 11951Freedom Drive                                             c/o Legalcorp Solutions,LLC 11Broadway,Suite 615




TO THE PERSON PREPAIUNG THIS AFFJD AVIT:You mustcomply with the appropriaterequirem entslisted on theback ofthisfonn.

Attachments;                                                                     summ onsand complaint
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N OTICE TO TI'IE M CIPIENT from theOfficeofthe Secretary ofthe Comm onw ealth ofVirginia:
       Youarebeingservedw iththisnoticeand attachedpleadingsunderSection 8.01-329oftheCodeofVirginiawhich designates
       the Secretary ofthe Comm onwealth asstatutory agentforService ofProcess.The Secretary oftheCom monwealth'sONLY
       responsibilityisto mail,by certifiedm ail,returnreceiptrequested,theehclosedpaperstoyou.Ifyouhaveany questions
       concerning these documents,you may wish to seck advice from a lawyer.
SERVICE OF PROCESS IS EFFECTIVE ON THE DATE THAT THE CERTV ICATE OF COO LIANCE IS FILED W ITH TIIE
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     receiptrequested,to the party designatedto beserved w ith processin the fidavit.                                                        .


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